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                      8 STEPHEN J. DONELL
                      9                                     UNITED STATES DISTRICT COURT
                     10                                CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12 FEDERAL TRADE COMMISSION,                             Case No. 2:24-CV-07660-SPG-JPR
                     13                        Plaintiff,MEMORANDUM OF POINTS AND
                                                         AUTHORITIES IN SUPPORT OF
                     14     v.                           FIRST INTERIM APPLICATION
                                                         FOR PAYMENT OF FEES AND
                     15 ASCEND CAPVENTURES INC., et al., REIMBURSEMENT OF EXPENSES
                                                         OF RECEIVER, STEPHEN J.
                     16         Defendants.              DONELL, AND HIS
                                                         PROFESSIONALS
                     17
                                                         Date: December 18, 2024
                     18                                  Time: 1:30 p.m.
                                                         Ctrm: 5C
                     19                                  Judge Hon. Sherilyn Peace Garnett
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                      1                Stephen J. Donell (the "Receiver"), the Court-appointed receiver in the above-
                      2 captioned action, along with his general receivership counsel, Allen Matkins Leck
                      3 Gamble Mallory & Natsis LLP ("Allen Matkins"), his forensic accounting firm, SL
                      4 Biggs, and local counsel Ross, Smith & Binford, PC ("RSB") and Markowitz Ringel
                      5 Trusty & Hartog, P.A. ("MRTH", and together with Allen Matkins, SL Biggs, and
                      6 RSB, the "Professionals"), hereby jointly submit this memorandum of points and
                      7 authorities in support of their concurrently and jointly submitted First Interim
                      8 Application for the Payment of fees and Reimbursement of Expenses (the "Fee
                      9 Application").
                     10                In addition to this memorandum and the exhibits appended to the Fee
                     11 Application, the Fee Application is supported by the concurrently filed declaration
                     12 of Stephen J. Donell (the "Donell Decl.").
                     13 I.             PRELIMINARY STATEMENT
                     14                The Fee Application is the first interim fee application submitted in the
                     15 above-captioned action and covers the fees and expenses incurred by the Receiver
                     16 and his Professionals (collectively, the "Applicants") during the period from
                     17 September 13, 2024 through October 31, 2024 (the "Application Period").
                     18                By way of the Fee Application, the Applicants request not only the Court's
                     19 approval of their fees and expenses incurred during the Application Period but also
                     20 the interim payment of such fees and expenses, to be paid from the funds of the
                     21 receivership estate established in this action (the "Receivership Estate" or "Estate")
                     22 at such time that the Estate holds sufficient funds to make such a payment.
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                      1                The amounts of the Applicants' fees and expenses sought to be approved and
                      2 paid under the Fee Application are as follows:
                      3
                                           Applicant             Fees               Expenses               Total
                      4
                                               Receiver           $69,897.15             $2,982.85          $72,880.00
                      5                 Allen Matkins            $145,013.85             $7,587.29         $152,601.14
                      6                        SL Biggs           $70,337.00                    $0.00       $70,337.00
                                                RSB               $20,317.50               $810.47          $21,127.97
                      7
                                               MRTH                $3,000.00                    $0.00        $3,000.00
                      8                                          $308,565.50            $11,380.61         $319,946.11
                      9
                     10                The Fee Application sets forth the services rendered by the Applicants during
                     11 the Application Period, which serve as the bases for the payments requested therein,
                     12 are more particularly detailed in the Applicants' invoices attached as Exhibits 1
                     13 through 5 to the Fee Application. These invoices contain the billing entries that
                     14 describe the specific tasks performed by the Receiver (and his staff) and his
                     15 Professionals during the Application Period.
                     16                As discussed below, the Receiver believes in his reasonable business
                     17 judgment that the fees and expenses incurred by the Applicants during the
                     18 Application Period in connection with the Receiver's pursuit of his duties under the
                     19 Initial Appointment Order (as the term is defined herein) are reasonable,
                     20 appropriate, and have benefited the Estate. Applicants accordingly respectfully
                     21 request that the Court approve and authorize the payment of the fees and expenses
                     22 sought under the Fee Application.
                     23 II.            FACTUAL AND PROCEDURAL BACKGROUND
                     24                A full recitation of the procedural history of the above-captioned action is
                     25 unnecessary for the purposes of the Fee Application. That said, the facts relevant to
                     26 the Fee Application are as follows:
                     27                On September 9, 2024, plaintiff the Federal Trade Commission (the "FTC")
                     28 filed a complaint against numerous entity and individual defendants, commencing
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                      1 the above-captioned civil action. See ECF No. 1. The FTC's complaint alleged that
                      2 the defendants engaged in a fraudulent scheme to lure consumers into investing
                      3 large sums in purported e-commerce business opportunities, using false promises of
                      4 substantial passive income from online stores administered by the defendants. See
                      5 id. On the basis of their allegations, the FTC petitioned this Court for injunctive
                      6 relief, and for the appointment of a receiver to assume authority and control over the
                      7 entity defendants. See ECF Nos. 4, 5.
                      8                On September 13, 2024, the Court entered the Order on Plaintiff's Ex Parte
                      9 Application For (1) Temporary Restraining Order and Order to Show Cause Why a
                     10 Preliminary Injunction Should Not Issue; (2) Waiver of Notice Requirement;
                     11 (3) Appointment of a Temporary Receiver, Freezing of Assets; and other Equitable
                     12 Relief (the "Initial Appointment Order"). See ECF No. 30. Pursuant to the terms of
                     13 the Initial Appointment Order, and among other things, the Receiver was:
                     14 (1) vested with authority and control over the Receivership Entities (as that term is
                     15 defined in the Initial Appointment Order); (2) directed to marshal and collect
                     16 available assets of the Receivership Entities; (3) charged with undertaking an
                     17 analysis of the business and financial activities of the entities and producing an
                     18 accounting; and (4) authorized to designate non-parties as additional Receivership
                     19 Entities, subject to a notice process. See id. The Receiver's authority under the
                     20 Initial Appointment Order was extended by subsequent orders of this Court;1 most
                     21 recently, the Receiver's authority was extended until the date of entry of a
                     22 preliminary injunction or November 20, 2024, whichever is earliest. See ECF
                     23 No. 75.
                     24                As reflected in the Fee Application, the Receiver has diligently performed his
                     25 duties as established in the Initial Appointment Order, including to protect and
                     26 preserve the value of the Receivership Entities and their assets. Having supported
                     27
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                                 See ECF Nos. 42, 55, 70.
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                      1 and facilitated the Receiver's efforts, the Applicants now request that the Court
                      2 approve their respective fees and expenses incurred during the Application Period
                      3 and authorize the payment of such fees and reimbursement of such expenses from
                      4 the funds of the Receivership Estate, as detailed herein and in the Fee Application.
                      5 If, at the time this Application is approved, the Estate does not hold sufficient funds
                      6 to fully satisfy these amounts, the Applicants further request that the Court authorize
                      7 the immediate, pro rata payment of their approved fees and expenses up to the
                      8 amount then held by the Receiver, with any outstanding amounts to be paid as
                      9 additional funds are recovered.
                     10 III.           ARGUMENT
                     11                A.      Receivership Fees and Expenses.
                     12                "As a general rule, the expenses and fees of a receivership are a charge upon
                     13 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994);
                     14 accord Atl. Tr. Co. v. Chapman, 208 U.S. 360, 374 (1908). The fees and expenses
                     15 of a receivership include the fees and expenses reasonably incurred by the receiver
                     16 in administering his or her duties, as well as the fees and expenses reasonably
                     17 incurred by the receiver's professionals in rendering services to the receiver. See
                     18 Drilling & Expl. Corp. v. Webster, 69 F.2d 416, 418 (9th Cir. 1934). Decisions
                     19 regarding the amount and timing of an award of receivership fees and expenses are
                     20 committed to the sound discretion of the district court. See SEC v. Elliott, 953 F.2d
                     21 1560, 1577 (11th Cir. 1992). Furthermore, "the district court has "broad powers and
                     22 wide discretion in crafting relief," including in "distributing receivership assets."
                     23 Quilling v. Trade Partners, Inc., 572 F.3d 293, 301 (6th Cir. 2009).
                     24                Here, the Fee Application's request for approval and payment of the fees and
                     25 expenses incurred by the Receiver and his Professionals is a reasonable and
                     26 appropriate request made to the Court, and for the reasons discussed below, the
                     27 Court should exercise that discretion and approve and authorize the interim payment
                     28 of those fees and expenses from the funds of the Receivership Estate.
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                      1                B.      The Requested Fees And Expenses Are Reasonable.
                      2                The fees of a receiver and his professionals must be reasonable. See San
                      3 Vicente Med. Partners, Ltd. v. Orr (In re San Vicente Med. Partners, Ltd.), 962 F.2d
                      4 1402, 1409 (9th Cir. 1992). In determining the reasonableness of the fees and
                      5 expenses requested in connection with a receivership, a court should consider the
                      6 time records presented, the quality of the work performed, the complexity of the
                      7 problems faced, and the benefit of the services rendered to the receivership estate.
                      8 See SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973).
                      9 In a practical sense, once it has determined that an applicant's services were
                     10 reasonable, the court simply multiplies the number of hours expended by the
                     11 applicant's hourly rate. Cf. Sw. Media, Inc. v. Rau, 708 F.2d 419, 427 (9th Cir.
                     12 1983) (Bankruptcy Act case), superseded in part by statute, Bankruptcy Reform Act
                     13 of 1978, Pub. L. No. 95-598, 92 Stat. 2549, as recognized in U.S. Tr. v. Tamm (In re
                     14 Hokulani Square, Inc.), 460 B.R. 763 (B.A.P. 9th Cir. 2011).
                     15                Here, the Fee Application describes the nature of the services that have been
                     16 rendered by the Applicants and, where appropriate, the identity and billing rate of
                     17 the individual performing each specific task. The Applicants have endeavored to
                     18 staff matters as efficiently as possible in light of the level of experience required and
                     19 the complexity of the issues presented. In general, the Fee Application reflects the
                     20 Applicants' customary billing rates and the rates charged for comparable services in
                     21 other matters, less those discounts and other reductions specifically identified in the
                     22 Fee Application (e.g. across-the-board rate discounts agreed to by the Receiver and
                     23 Allen Matkins).
                     24                The Receiver has reviewed the Fee Application and, in his reasonable
                     25 business judgment, believes the fees and expenses requested by the Applicants to be
                     26 fair and reasonable and an accurate representation of the work performed. See
                     27 Donell Decl. ¶ 2. The Receiver likewise believes that the Receivership Estate has
                     28 benefited from the services identified in the Fee Application. Id.
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                      1                C.      The Fee Application Has Been Submitted To The FTC For Review
                      2                        And Comment, Without Objection.
                      3                With respect to compensation requests made by a receiver in a federal
                      4 enforcement action, courts give great weight to the judgment and experience of the
                      5 government agency prosecuting the underlying action. As one court has noted in a
                      6 bankruptcy case in which the Securities and Exchange Commission (the "SEC")
                      7 participated, "it is proper to [keep] in mind that the [SEC] is about the only wholly
                      8 disinterested party in [this] proceeding and that . . . its experience has made it
                      9 thoroughly familiar with the general attitude of the Courts and the amounts of
                     10 allowances made in scores of comparable proceedings." In re Phila. & Reading
                     11 Coal & Iron Co., 61 F. Supp. 120, 124 (E.D. Pa. 1945) (Bankruptcy Act case).
                     12 Indeed, the government agency's positions are not "mere casual conjectures, but are
                     13 recommendations based on closer study than a district judge could ordinarily give to
                     14 such matters." Finn v. Childs Co., 181 F.2d 431, 438 (2d Cir. 1950) (citation
                     15 omitted) (internal quotation marks omitted) (Bankruptcy Act case). And such
                     16 "recommendations as to fees of the [government agency] may be the only solution
                     17 to the very undesirable subjectivity with variations according to the particular judge
                     18 under particular circumstances which has made the fixing of fees seem often to be
                     19 upon nothing more than an ipse dixit basis." Id. (citation omitted) (internal
                     20 quotation marks omitted). Thus, the government agency's position on a fee request
                     21 should be "given great weight." Fifth Ave. Coach Lines, 364 F. Supp. at 1222.
                     22                Here, in order to ensure that the fees and expenses requested in the Fee
                     23 Application are reasonable and appropriate, the Applicants submitted a draft of the
                     24 Fee Application, along with their invoices, to the FTC for review prior to filing.
                     25 The FTC has confirmed that it does not oppose the Fee Application. The FTC is
                     26 likely in the best position to measure the fees and expenses requested in the instant
                     27 receivership against those incurred in other, similar proceedings and cases of similar
                     28 complexity, see Phila. & Reading Coal & Iron Co., 61 F. Supp. at 124, and any
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                      1 decision on its part not to object to the Fee Application merits significant deference.
                      2 Accordingly, the Applicants respectfully request that the Court approve the fees and
                      3 expenses as sought in the Fee Application.
                      4                D.      The Receiver Should Be Authorized To Pay The Approved Fees
                      5                        And Expenses From Cash On Hand.
                      6                        1.   The Receiver may be Holding Sufficient Funds in the Near
                      7                             Future.
                      8                As reflected in the Fee Application, the Receiver and his Professionals have
                      9 requested that the Court authorize an interim payment of their total requested fees
                     10 and expenses as follows: Receiver – $72,880.00; Allen Matkins – $152,601.14; SL
                     11 Biggs – $70,337.00; RSB – $21,127.97; and MRTH – $3,000.00. If the Fee
                     12 Application were granted in its entirety, the aggregate amount of the fees and
                     13 expenses to be paid to the Applicants would be $319,946.11.
                     14                As of the end of the Application Period, the Receiver had recovered funds
                     15 totaling approximately $275,451.74, slightly less than the aggregate amount
                     16 requested in the Fee Application. Donell Decl. ¶ 3. That said, the Receiver has also
                     17 successfully frozen approximately $300,000 in proceeds from a real property sale
                     18 completed by defendants Basta and Leung after the entry of the Initial Appointment
                     19 Order. Id. The Receiver believes these proceeds are subject to turnover to him in
                     20 accordance with the provisions of the Initial Appointment Order. Id. The
                     21 Receiver's ability to recover these funds is subject to Court approval, as detailed
                     22 further in the Receiver's First Interim Report and Petition for Instructions, to be
                     23 filed contemporaneously with the Fee Application. Given that the Receiver may
                     24 soon hold funds well in excess of the aggregate amount of the compensation sought
                     25 in the Fee Application, he submits that it is appropriate for the Court to authorize the
                     26 interim payment of such compensation at this time, and to authorize him to make
                     27 payments on a pro rata basis from funds on-hand, with any remaining funds owed
                     28 to be paid as additional funds are recovered.
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                      1                        2.   An Interim Payment is Appropriate.
                      2                Where, as here, the fees requested are reasonable and "both the magnitude
                      3 and the protracted nature of a case impose economic hardships on professionals
                      4 rendering services to the estate," an interim award of fees is appropriate. CFPB v.
                      5 Pension Funding, LLC, Case No. SACV 15-1329-JLS (JCGx), 2016 U.S. Dist.
                      6 LEXIS 187607, at *4 (C.D. Cal. July 7, 2016). Indeed, interim payments are
                      7 necessary "to relieve counsel and others from the burden of financing lengthy and
                      8 complex . . . proceedings." In re Rose Way, Inc., Case No. 89-1273-C H, 1990
                      9 Bankr. LEXIS 3028, at *9 (Bankr. S.D. Iowa Mar. 1, 1990) (citing In re Mansfield
                     10 Tire & Rubber Co., 19 B.R. 125 (Bankr. N.D. Ohio 1981)) (bankruptcy case). Thus,
                     11 an interim payment of the Applicants' requested fees and expenses is appropriate.
                     12 IV.            CONCLUSION
                     13                For the foregoing reasons, the Applicants respectfully request that the Court
                     14 grant the Fee Application, approve the fees and expenses incurred by the Applicants
                     15 during the Application Period, and authorize the payment, on an interim basis, of
                     16 such approved fees and expenses from the funds of the Receivership Estate. If, at
                     17 the time this Application is approved, the Estate does not hold sufficient funds to
                     18 fully satisfy these amounts, the Applicants further request that the Court authorize
                     19 the immediate, pro rata payment, on an interim basis, of such approved fees and
                     20 expenses, with any outstanding amounts to be paid as additional funds are recovered
                     21 by the Receiver.
                     22
                     23 Dated: November 13, 2024                          ALLEN MATKINS LECK GAMBLE
                                                                            MALLORY & NATSIS LLP
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